                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

___________________________________
                                    :
MARYWOOD UNIVERSITY,                :
                                    :
                     Plaintiff,     :
                                    :
          v.                        :                 No. 3:22-cv-00991-JFS
                                    :
SYNERGI PARTNERS, INC.,             :
                                    :
                     Defendant.     :
____________________________________:

                  NOTICE OF DISMISSAL WITH PREJUDICE

To The Clerk:

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), kindly dismiss the above-captioned

action with prejudice. The parties have settled this action on mutually agreeable

terms.


                                                KLEHR HARRISON
                                                HARVEY BRANZBURG LLP

Dated: July 6, 2022                             //s// William J. Clements (Pa. 86348)
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